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 1                                     UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3                                                    ***

 4

 5   UNITED STATES OF AMERICA

 6                        Plaintiff,                     2:12-cr-00118-GMN-VCF

 7   vs.                                                 ORDER

 8   MICHAEL CHARLES GARCIA, et al.,
                                                         [Defendant Michael Garcia’s Motion to Correct
 9                        Defendant.                     Co-Defendant’s Name from an Alias to His Legal
                                                         Name of Robert Charles Grusczynski (#68) and
10
                                                         Government’s Motion to Strike Defendant’s Pro
11
                                                         Se Motion to Correct Co-Defendant’s Name (#69)]
            Before the Court are Defendant Michael Garcia’s Motion to Correct Co-Defendant’s Name from
12
     an Alias to His Legal Name of Robert Charles Grusczynski (#68) and Government’s Motion to Strike
13
     Defendant’s Pro Se Motion to Correct Co-Defendant’s Name (#69).
14
     Relevant Background:
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            On April 22, 2013, Defendant’s counsel, C. Stanley Hunterton, Esq., filed a Motion to Withdraw
16
     as Attorney (#66) and the Order (#67) granting the Motion was entered on April 24, 2013. The
17
     appointment of new counsel was referred to the CJA panel.         Todd M. Leventhal, Esq. has been
18
     appointed as counsel for Defendant Garcia in place of C. Stanley Hunterton, Esq. (#70).
19
            Defendant filed a Motion to Correct Co-Defendant’s Name from an Alias to His Legal Name of
20
     Robert Charles Grusczynski (#68) on April 24, 2013.     The Motion was filed by Defendant’s mother,
21
     Katrina Garcia, requesting the Court to change co-defendant’s name, Matthew Dale Dewberry, to Robert
22
     Charles Grusczynski. Id.
23
            The Government filed a Motion to Strike Defendant’s Pro Se Motion to Correct Co-Defendant’s
24
     Name on April 25, 2013. (#69). The Government moves the Court to strike and deny consideration of
25
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 1   Defendant’s Motion (#68). Id. Defendant’s Motion (#68) is filed by his mother, Katrina Garcia, who is

 2   not a party nor counsel in this case. Id.

 3   Discussion:

 4          On October 31, 2012, the Court denied the Notice of Entry of Appearance by Katrina Garcia

 5   (#35). (#36).      Katrina Garcia, mother of defendant Michael Garcia, was attempting to appear as his

 6   defense counsel in this case. Katrina Garcia is not an attorney. The Ninth Circuit has held that although

 7   a plaintiff may appear pro se on his or her own behalf, an individual “has no authority to appear as an

 8   attorney for others than himself.” Johns v. County of San Diego, 114 F.3d 874, 876 (9th Cir. 1997)

 9   (citing United States v. Mitchell, 915 F.2d 521, 526 n.8 (9th Cir. 1990)) (quoting C.E. Pope Equity Trust

10   v. United States, 818 F.2d 696, 697 (9th Cir. 1987).

11          U. S. District Court of Nevada Local Rules IA 10-1 through 10-7 regulate the practice of law in

12   our court. With the exception of law students certified pursuant to LR IA 10-5 and supervised by an

13   attorney, only licensed attorneys may represent parties to any criminal or civil action. Katrina Garcia is

14   not an attorney.

15          IT IS HEREBY ORDERED that Government’s Motion to Strike Defendant’s Pro Se Motion to

16   Correct Co-Defendant’s Name (#69) is GRANTED.

17          IT IS FURTHER ORDERED that Defendant Michael Garcia’s Motion to Correct Co-

18   Defendant’s Name from an Alias to His Legal Name of Robert Charles Grusczynski (#68) is

19   STRICKEN.

20          DATED this 15th day of May, 2013.

21

22
                                                                 _________________________
23                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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